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 DECLARATION OF MARIAH R. DUNHAM – 3
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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 3, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
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